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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
IN RE:                                    Case No.18-19151-LMI

RODICA A. BONCIOAGA                                Chapter 7
AKA RODICA ALINA BONCIOAGA,

Debtor.
______________________________________/

                        CENTRAL VALLEY COMMUNITY BANK’S
              MOTION FOR PROSPECTIVE RELIEF FROM AUTOMATIC STAY
                  (Re: 2620 Huntington Road, Sacramento, California 95864)

         Central Valley Community Bank (“Movant”), by and through undersigned counsel, files

this Motion for Prospective Relief from the Automatic Stay, pursuant to 11 U.S.C. §362, Rule

4001(a) of the Federal Rules of Bankruptcy Procedure, and the various other applicable

provisions of the United States Bankruptcy Code, Federal Rules of Bankruptcy Procedure, and

the laws of the United States of America, and in support states as follows:.

                                 A. STATEMENT OF FACTS

1. Loan History

         1.      Rodica Alina Boncioaga (“Debtor”) and non-filing, co-borrower Dorel Mitrut

(collectively the “Borrowers”) own certain real property located at 2620 Huntington Road,

Sacramento, California 95864 (the “Property”) in Sacramento County, California, legally

described as:

         PARCEL NO. 1:
         THE WEST 77 FEET OF THE EAST 167 FEET OF LOT 1, OF SIERRA
         OAKS VISTA UNIT NO. 2, A RE-SUBDIVISION OF LOTS 33, 34 AND 35
         AND PORTIONS OF LOTS 36, 37 AND 38 OF OAK FIELD
         SACRAMENTO COUNTY, CALIFORNIA, ACCORDING TO THE
         OFFICIAL PLAT THEREOF, FILED IN THE OFFICE OF THE
         RECORDER OF SACRAMENTO COUNTY, CALIFORNIA, ON
         JANUARY 24, 1938 IN BOOK 20 OF MAPS, MAP NO. 40; SAID
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       MEASUREMENTS BEING AT RIGHT ANGLES TO THE EAST LINE OF
       SAID LOT 1.
       PARCEL NO. 2:
       ALL THAT PORTION OF LOT 1 OF SIERRA OAKS VISTA UNIT NO. 2,
       A RE-SUBDIVISION OF LOTS 33, 34 AND 35 AND PORTIONS OF LOTS
       36, 37 AND 38 OF OAK FIELD SACRAMENTO COUNTY, CALIFORNIA,
       ACCORDING TO THE OFFICIAL PLAT THEREOF, FILED IN THE
       OFFICE OF THE RECORDER OF SACRAMENTO COUNTY,
       CALIFORNIA, ON JANUARY 24, 1938 IN BOOK 20 OF MAPS, MAP NO.
       40, DESCRIBED AS FOLLOWS: BEGINNING AT A POINT ON THE
       NORTHERLY BOUNDARY OF LOT 1, SAID POINT BEARING NORTH
       80 DEGREE 11’30" WEST, A DISTANCE OF 240.00 FEET TO A POINT
       ON THE SOUTHERLY BOUNDARY OF LOT 1; THENCE SOUTH 80
       DEGREE 11’30" EAST ALONG SOUTHERLY BOUNDARY A
       DISTANCE OF 23.00 FEET TO A POINT, THENCE NORTH 9 DEGREE
       48’30” EAST, A DISTANCE OF 240.00 FEET TO A POINT ON THE
       NORTHERLY BOUNDARY OF LOT; THENCE NORTH 80 DEGREE
       11’30” WEST ALONG THE NORTHERLY BOUNDARY A DISTANCE
       OF 23.00 FEET TO THE POINT OF BEGINNING.
       2.     The Property is secured by virtue of a Promissory Note and Deed of Trust dated

April 15, 2016 in the original amount of $1,500,000.00, recorded in the Public Records of

Sacramento County, California in Book 20160421 at Page 1254. True and correct copies of the

relevant loan documents are attached as Composite Exhibit A.

       3.     On October 3, 2016, Central Valley Community Bancorp (the “Company”) issued

a press release to announce the effectiveness of the merger of Sierra Vista Bank (“SVB”) into the

Company’s wholly-owned subsidiary, Central Valley Community Bank. The aggregate

consideration paid to SVB shareholders in connection with the merger was paid in a combination

of cash and shares of Company common stock that were registered under Registration Statement

333-212063, and declared effective on August 3, 2016. The press release is attached as Exhibit

99.1 to this Current Report on Form 8-K and are attached as Exhibit B.

       4.     As of August 14, 2018, Borrowers have failed to provide adequate protection to

Movant by failing to make payments from and after September 7, 2017, and failing to pay the
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full amount of the matured balance pursuant to the Deed of Trust since August 30, 2017. See

Affidavit in Support of Motion for Relief from Stay attached as Exhibit C.

       5.       As of August 14, 2018, Movant has completed the Indebtedness Worksheet,

wherein the total pre-petition indebtedness is $1,672,687.59 and the total post-petition

indebtedness is $1,678,887.64. See Indebtedness Worksheet attached as Exhibit D.

       6.       The post-petition payment address is: 7100 North Financial Drive, Suite 101,

Fresno CA 93720.

       7.       The estimated value of the Property is $1,527.578.28. This valuation is based on

the fair market value as determined by the Debtor’s Bankruptcy Schedules A/B and D. See

Debtor’s Bankruptcy Schedules A/B and D attached as Exhibit E. Thus, there is little to no

equity in the Property for the benefit of unsecured creditors of the estate.

       8.       Since the loan matured on August 30, 2017 and Borrowers have failed to make a

payment since September 7, 2017, Movant commenced a non-judicial foreclosure action against

the Property.

2. Bankruptcy Case History

       9.       Since the commencement of the non-judicial foreclosure proceedings, Borrowers

have filed three (3) bankruptcy cases. Each bankruptcy case was filed at a strategic time for the

sole purpose of hindering and delaying Movant from proceeding in connection with the same.

The bankruptcy cases at issue are as follows:

            a. The First Case: Mr. Mitrut filed a Chapter 13 bankruptcy in the Northern District
               of California, Case No. 18-4047 on February 23, 2018. Said bankruptcy was
               dismissed on March 12, 2018 for failure to file a plan or schedules.

            b. The Second Case: Mr. Mitrut filed a Chapter 11 bankruptcy on March 21, 2018,
               in the Southern District of Florida, Miami Division, Case No. 18-bk-13263-AJC
               which is currently facing potential dismissal based on a motion by the Trustee. On
               April 23, 2018, the Court entered an Order Granting Debtor’s Emergency Motion
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                 to Extend Automatic Stay Pursuant to § 362(c)(3)(b) [See Dkt. No 30], which
                 provided that Movant would be permitted to set the sale date 100 days
                 (approximately July 30, 2018) after the entry of same. Moreover on July 30, 2018,
                 the Court further ordered that the extension of the automatic stay as to Movant
                 was terminated and Movant was permitted to move forward with the sale of the
                 Property [See Dkt. No. 63].

              c. The Third Case: On the same day the automatic stay was terminated in Mr.
                 Mitrut’s Second Case, Debtor filed a voluntary petition for relief pursuant to
                 Chapter 7 of the United States Bankruptcy Code.

        10.      As previously indicated, the instant bankruptcy case is the third Bankruptcy filing

between Debtor and non-filing co-borrower, Dorel Mitrut in order to stop a foreclosure sale.

        11.      The Property has not been claimed exempt by Debtor. The Property has not been

abandoned by the Trustee.

        12.      The 341 Meeting of Creditors is currently scheduled for August 30, 2018.

        13.      Borrowers are filing these bankruptcy petitions solely to hinder and delay Movant

from enforcing its legitimate right to foreclose on the Property, and the Movant submits the entry

of an Order granting prospective, in rem relief from the Automatic Stay is warranted in light of

this history.

                      B. ARGUMENT AND CITATION OF AUTHORITY

        14.      The Bankruptcy Code was intended to afford financially troubled debtors a

breathing spell from their creditors, but it was not Congress’ intent to allow debtors to enjoy their

property while failing to pay their mortgages for extended periods of time. In re Three Tuns, Inc.,

35 B.R. 110, 111 (Bankr. E.D. Pa. 1983).

        15.      Payments on the Property matured on August 30, 2017. Borrowers have not made

a payment since September 7, 2017.

        16.      Movant is justified in its request to have the Stay lifted as its foreclosure sale has

been cancelled at least three (3) times by bankruptcies.
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       17.     The Eleventh Circuit has stated that “whenever a chapter 13 petition appears to be

tainted with a questionable purpose, it is incumbent upon the bankruptcy courts to examine and

question the Debtor’s motives.” In re Waldron, 785 F.2d 936, 941 (11th Cir. 1986). The Courts

must be more vigilant when considering the purpose for which the Chapter 13 relief is sought.

       18.      While the instant bankruptcy is a Chapter 7 bankruptcy, it is clear from the

history of this Property, that Debtor’s motives are tainted with a questionable motive.

       19.     The Court may invoke its powers under 11 U.S.C. § 105(a) and implement a

mechanism to prevent the “continuing abuse of the bankruptcy process” by the Debtor. In re

Yimam, 214 B.R. 463 (Bankr. D. Md. 1997).

       20.     Movant respectfully suggests that the purpose of the Bankruptcy Code's good

faith provision is to prevent the bankruptcy forum from becoming a revolving door for debtors

who, without any real ability or serious intention of abiding by the duties imposed by Title 11,

seek only to delay just process.

       21.     Pursuant to 11 U.S.C. § 362(d) of the Bankruptcy Code, on request of a party in

interest and after notice and a hearing, the court shall grant relief from the stay provided under

subsection § 362(a) of this section, such as by terminating, annulling, modifying, or conditioning

such stay—

               (1) for cause, including the lack of adequate protection of an interest in
               property of such party in interest;

               (2) with respect to a stay of an act against property under subsection (a) of
               this section, if—
                       (A) the Debtor and non-filing Co-Debtor, Dorel Mitrut do not have
               an equity in such property; and
                       (B) such property is not necessary to an effective reorganization;

               (3) with respect to a stay of an act against single asset real estate under subsection
               (a), by a creditor whose claim is secured by an interest in such real estate, unless,
               not later than the date that is 90 days after the entry of the order for relief (or such
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                later date as the court may determine for cause by order entered within that 90-
                day period) or 30 days after the court determines that the debtor is subject to this
                paragraph, whichever is later…

                (4) with respect to a stay of an act against real property under subsection (a),
                by a creditor whose claim is secured by an interest in such real property, if
                the court finds that the filing of the petition was part of a scheme to delay,
                hinder, or defraud creditors that involved either

                        (A) transfer of all or part ownership of, or other interest in, such real
                        property without the consent of the secured creditor or court approval; or
                        (B) multiple bankruptcy filings affecting such real property.

                (emphasis added).

1.     Movant is entitled to relief from stay pursuant to 11 U.S.C. §§ 362(d)(1) and
362(d)(2)

        22.     As of August 14, 2018, the total pre-petition indebtedness is $1,672,687.59 and

the total post-petition indebtedness is $1,678,887.64.

        23.     Movant is unaware of the current interior condition of the Property. Movant’s

position is that the Property is at substantial risk of loss or diminution of value. As a point of

reference, the estimated value of the Property is $1,527.578.28 pursuant to Debtor’s schedules.

As a result, there is little to no equity in the Property.

        24.     Movant’s security interest in the Property is being significantly jeopardized by

Debtor’s failure to make regular payments under the subject loan documents while Movant is

prohibited from pursuing lawful remedies to protect such security interest.

        25.     Moreover, the value of the Property is insufficient in and of itself to provide

adequate protection to Movant, which the Bankruptcy Code requires to be provided.

        26.     Cause exists for the Motion to be granted, namely the lack of adequate protection

to Movant for its security interest in the Property.
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       27.     Moreover, the value of the Property is insufficient in and of itself to provide

adequate protection to Movant, which the Bankruptcy Code requires to be provided.

       28.     The Property is not necessary for the Debtor’s effective reorganization.

Accordingly, relief is appropriate under 11 U.S.C. § 362(d)(2).

2.     Movant is entitled to Prospective relief pursuant to 11 U.S.C. § 362(d)(4) as this is
the Third Bankruptcy Case filed between Debtor and non-filing Co-Debtor, Dorel Mitrut.

       29.     To be entitled to relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(4),

Movant must show that the filing of the petition was part of a scheme to delay, hinder, or defraud

creditors that involved … multiple bankruptcy filings affecting such real property.

       30.     This is the Third Bankruptcy filed by either Debtor or non-filing, co-borrower

Dorel Mitrut, to cancel a scheduled Foreclosure Sale.

       31.     Debtor is merely using this Chapter 7 case for the sole purpose of forestalling the

collection efforts of her creditors and not to legitimately pursue an individual reorganization.

       32.     Movant submits that it is entitled to prospective relief from stay for cause, to wit,

the prior bankruptcy filings and the filing of the instant bankruptcy petition, which serial filings

evidence a lack of good faith.

       33.     Movant is also concerned that either Debtor or non-filing, co-borrower Dorel

Mitrut, will file another bankruptcy petition as soon as the present Case is closed. See In re

Waldron, 785 F.2d 936, 941 (11th Cir. 1986) (“whenever a Chapter 13 petition appears to be

tainted by a questionable purpose, it is incumbent upon the bankruptcy courts to examine and

question the Debtors motives”).

       34.     The Bankruptcy Code does not define good faith nor is there an explicit

requirement that petitions be filed in good faith; yet, bankruptcy courts have repeatedly lifted the

automatic stay and dismissed cases as bad faith filings. The inference that good faith is required
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in order for debtors to continue to enjoy the exceptional relief afforded by the automatic stay and

the other provisions of the Code upholds the integrity of the bankruptcy courts:

                Every bankruptcy statute since 1898 has incorporated literally, or by
                judicial interpretation, a standard of good faith for the commencement,
                prosecution, and confirmation of bankruptcy proceedings. Such a
                standard furthers the balancing process between the interests of Debtors
                and creditors which characterizes so many provisions of the bankruptcy
                laws and is necessary to legitimize the delay and costs imposed upon
                parties to a bankruptcy. Requirement of good faith prevents abuse of the
                bankruptcy process by Debtors whose overriding motive is to delay
                creditors without benefitting them in any way or to achieve reprehensible
                purposes. Moreover, a good faith standard protects the jurisdictional
                integrity of the bankruptcy courts by rendering their most powerful
                equitable weapons (i.e., avoidance of liens, discharge of debts, marshaling
                and turnover of assets) available only to those Debtors and creditors with
                "clean hands."

In re Little Creek Dev. Co., 779 F.2d 1068, 1071-72 (5th Cir. 1986) (citations omitted). See also

In re Waldron, 785 F.2d 936 (11th Cir. 1986).

        35.     It is clear from the history of this Mortgage account that Debtor and non-filing,

co-borrower Dorel Mitrut, either does not have the ability to make payments or does not intend

to make payments to Movant.

        36.     In light of the foregoing, Movant argues that Debtor’s and non-filing, co-borrower

Dorel Mitrut’s conduct does not justify continued protection under the Bankruptcy Code.

        37.     Accordingly, Movant maintains that cause exists pursuant to 11 U.S.C. §

362(d)(4) for the stay to be lifted.

        38.     Furthermore, Movant requests that the prior history of the account justifies

measures which would restrict any future imposition of the automatic stay on its currently

pending foreclosure action.

        39.     Accordingly, Movant asks that the order lifting stay provide that:
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               a)      If a future bankruptcy is filed on the aforementioned property, Movant can
                       submit an ex parte order for immediate relief in order to proceed with sale,
                       post sale process or eviction; and that

               b)      Even without a separate Stay Relief Order, Movant be authorized to
                       proceed with a sale, post sale process or eviction if necessary, after the
                       date of the order notwithstanding any pending or future bankruptcy by
                       Debtor, or any assign of Debtor, any other entity that takes title through
                       Debtor.

       40.     Movant requests that the Motion be granted with prospective relief in the amount

of two (2) years in order to finalize the foreclosure/eviction process.

       41.     This Motion is being filed on non-negative notice prior to the §341 Meeting of

Creditors. Therefore, in order to allow the Chapter 7 Trustee the opportunity to conduct the §341

Meeting and obtain the necessary information to adequately respond to the Motion, Movant

requests that the hearing on this Motion be set no sooner than two weeks after the §341 Meeting,

which is now scheduled for August 30, 2018. Movant waives its right to a hearing within 30 days

pursuant to Section 362(e) of the Bankruptcy Code.

       42.     Movant has incurred attorneys’ fees in the amount of $750.00 and costs in the

amount of $181.00 as a result of the necessity of filing this motion. Movant’s attorneys’ fees and

costs are recoverable as part of the debt pursuant to the loan documents but shall not be a

personal liability of Debtor.

       43.     Movant respectfully requests that the Court waive the fourteen (14) day stay of

the Order Granting Relief pursuant to Rule 4001(a)(3) of the Federal Rules of Bankruptcy

Procedure, so that Movant can pursue its in rem remedies without further delay.

       WHEREFORE, Movant respectfully requests that the automatic stay be lifted so that

Movant may be permitted to protect its security interest in the Property outside of the bankruptcy

forum, with prospective relief for two (2) years; that Movant be permitted to contact the Debtors
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for the reasons stated; that the fourteen (14) day stay set forth in Bankruptcy Rule 4001(a)(3) be

waived; that if a future bankruptcy is filed on the Property, Movant can submit an ex parte order

for immediate relief in order to proceed with sale, post sale process or eviction; that Even

without a separate Stay Relief Order, Movant is authorized to proceed with a sale, post sale

process or eviction if necessary, after the date of the order notwithstanding any pending or future

bankruptcy by Debtor and non-filing Co-Debtor, Dorel Mitrut, or any assign of Debtor and non-

filing Co-Debtor, Dorel Mitrut, any other entity that takes title through Debtor and non-filing Co-

Debtor, Dorel Mitrut; and such other and further relief as the Court may deem just and proper.


                                                     Respectfully Submitted:



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                                                     Attorney for Movant
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion for Relief
from the Automatic Stay was served electronically or via U.S. Mail, first-class postage prepaid,
to:
DEBTOR ATTORNEY                                  CO-BORROWER
(via electronic notice)                          Dorel Mitrut
Chad T Van Horn                                  300 190th St
Chad@cvhlawgroup.com                             Apt 202
                                                 Aventura, FL 33160-2328
DEBTOR
Rodica A. Boncioaga                              Dorel Mitrut
3000 NE 190th St                                 3000 NW 190th St
# 202                                            #202
Aventura, FL 33180-3182                          Aventura, FL 33180-1816

TRUSTEE                                          Dorel Mitrut
(via electronic notice)                          2620 Huntington Road
Marcia T Dunn                                    Sacramento, California 95864
mdunn@dunnlawpa.com

UNITED STATES TRUSTEE
(via electronic notice)
Office of the US Trustee
51 S.W. 1st Ave., Suite 1204
Miami, FL 33130
USTPRegion21.MM.ECF@usdoj.gov




Dated: September 10, 2018

                                                   /s/ Wanda D. Murray
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